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                    UNITED STATES COURT OF FEDERAL CLAIMS

                               CASE NO.: 1:18-cv-01851-EJD

 APL MICROSCOPIC, LLC,


                Plaintiff,
 v.


 THE UNITED STATES OF AMERICA,


                Defendant.



 PLAINTIFF’S SUPPLEMENTAL BRIEF ON THE ISSUE OF THE PUBLIC DISPLAY
                    RIGHT UNDER 17 U.S.C § 106(5)

       Plaintiff APL Microscopic, LLC, per the Court’s June 3, 2019 Order, respectfully

submits the following Supplemental Brief in further opposition to the Government’s Motion to

Dismiss.

                              I.         QUESTION PRESENTED
       Does public display occur when the owner of a website puts a protected work on its

server (without authorization) so that it is made available for viewing by individual computer

users who access the relevant page on the website, or, does public display occur only when—and

each time—an individual computer user accesses the relevant page on the website?

                                   II.     BRIEF ANSWER
       Public display occurs, and § 106(5) is violated, each time an individual computer user

accesses the relevant page on a website that displays the protected work.




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III.   PUBLIC DISPLAY IN VIOLATION OF 17 U.S.C. § 106(5) OCCURS EACH TIME
         A PERSON DISPLAYS AN IMAGE BY USING A COMPUTER TO FILL A
          COMPUTER SCREEN WITH A COPY OF THE INFRINGING IMAGE
       A copyright owner has the exclusive right to display his or her work publicly. 17 U.S.C. §

106(5). The Copyright Act defines the “display” of a work as “to show a copy of it, either

directly or by means of a film, slide, television image, or any other device or process or, in the

case of a motion picture or other audiovisual work, to show individual images nonsequentially.”

17 U.S.C. § 101. Cases interpreting this definition have held that display occurs by “the

projection of an image on a screen… by any method, the transmission of an image by electronic

or other means, and the showing of an image on a cathode ray tube, or similar viewing apparatus

connected with any sort of information storage retrieval system.” Greenberg v. Nat’l Geographic

Soc’y, 533 F.3d 1244, 1279 (11th Cir. 2008).

       Unauthorized transmission of a copyrighted work onto a public website alone violates a

copyright owner’s display right irrespective of whether the infringer’s server hosts the work.

Kelly v. Arriba Soft Corp., 280 F.3d 934, 946 (9th Cir. 2002)(“By allowing the public to view

Kelly’s copyrighted works while visiting Arriba’s web site, Arriba created a public display of

Kelly’s works”). Violation of a copyright owner’s display right occurs “even if there is no proof

that any of the potential recipients was operating his receiving apparatus at the time of the

transmission.” Kelly, 280 F.3d at 945. The act of transmitting a work onto a website is enough; it

is not necessary for anyone to actually view the infringing image for the display right to be

violated. Kelly, 280 F. 3d at 946 (“Allowing this capability is enough to establish an

infringement; the fact that no one saw the images goes to the issue of damages, not liability”);

Greenberg, 533 F.3d at 1279-1280 (“The definition of ‘transmit’ is broad enough to include all

conceivable forms and combinations of wired and wireless communications media…” citing

H.R. Rep. No. 94-1476).
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        Storage of the work on the infringer’s server is not a necessary element for violation of the

copyright owner’s display right; display of the work by the infringer is sufficient. See Goldman v.

Breitbart News Network, LLC, 302 F. Supp. 3d 585, 595 (S.D.N.Y. 2018); Leader’s Inst., LLC v.

Jackson, No. 3:14-CV-3572-B, 2017 U.S. Dist. LEXIS 193555, at *31-32 (N.D. Tex. Nov. 22,

2017); Flava Works, Inc v. Gunter¸ No. 10 C 6517, 2011 U.S. Dist. LEXIS 98451, at *9 (N.D. Ill.

Sep. 1, 2011); Playboy Enters., Inc. v. Webbworld Inc., 991 F. Supp. 543, 945 (N.D. Tex. 1997).

        In Flava Works, a third-party’s server, not the defendant’s, stored the infringing videos that

were displayed on the defendant’s website. Flava-Works, 2011 U.S. Dist. LEXIS 98451, at *9.

The court analyzed whether the defendant, myVidster, infringed the plaintiff’s display right when

myVidster inline linked the plaintiff’s copyrighted videos onto the myVidster’s website for users

to watch. Id. The court determined that myVidster infringed Flava Works, Inc’s display right. Id.

at *11. The infringing act of linking the plaintiff’s copyrighted video’s onto myVidster alone was

sufficient to violate the plaintiff’s display right and subject myVidster to liability. Id. According

to the court, “The fact that the majority of the videos displayed on myVidster reside on a third-

party server does not mean that myVidster users are not causing a ‘display’ to be made by

bookmarking those videos.” Id.

        In Goldman, the defendants, without the permission of the plaintiff, embedded the

plaintiff’s copyrighted photograph in a tweet on Twitter. Goldman, 302 F. Supp. 3d at 595. The

court was tasked with determining whether the defendants, who embedded the plaintiff’s

photograph in a Tweet, violated the Plaintiff’s exclusive right to display. Id. at 586. The court held

that act of transmitting the photos to users, via Twitter, was sufficient in of itself, to find that the

defendants “actively took steps to ‘display’ the image” and thus, subject the defendants to liability.




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Id. at 593. “Nowhere does the Copyright Act suggest that possession of an image is necessary in

order to display it. Indeed, the purpose and language of the Act support the opposite view.” Id.

        In Leader’s, the plaintiff’s website instructed the user’s browser to display the defendants’

website under the plaintiff’s web address, a method of display called “framing.” Leader’s, 2017

U.S. Dist. LEXIS 193555 at *28. The court held that framing a copyrighted photograph violated

the plaintiff’s exclusive right to publicly display his work because the defendant’s act of framing,

“displayed the works by ‘show[ing] a copy’ of the works via a ‘process’.’” Id. at *29 (citing 17

U.S.C. § 101). The transmission of a display of the plaintiff’s works to the public through the web

was enough for the court to find that the defendant violated the plaintiff’s display right. Id. at *29-

30.

        In Playboy, the owner of an internet site displayed the plaintiff magazine publisher’s

copyrighted images on its website to internet subscribers, without the permission of the copyright

owner. Playboy, 991 F. Supp. at 946. The court held that allowing subscribers to view copyrighted

works on their computer monitors while online was a display. The fact that subscribers could view

the images simply by visiting the defendant’s site was enough to find that the defendant had

violated the plaintiff’s display right. Id. at 552.

      IV.     PERFECT 10’S SERVER TEST WAS FACT SPECIFIC AND HAS BEEN
                           REJECTED BY NUMEROUS COURTS
        The facts of Perfect 10 were different from the instant case. In Perfect 10 Google displayed

infringing full-sized images but did so without storing those images on its servers. Instead, Google

Google provided users with HTML instructions that directed them to the website publishers’ server

that stored the full-sized images. Id. at 1161. Since the Ninth Circuit determined that the act of

providing HTML instructions did not transmit or display images on a user’s computer screen,

Google was not found to infringe those full-sized images. Id. Furthermore, as to the thumbnail

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sized images that Google displayed, the Ninth Circuit determined that Google’s display was a fair

use. Id. at 1163.

       Other courts have been quick to confine the outcome in Perfect 10 to its unique facts. See

Leader's, 2017 U.S. Dist. LEXIS 193555, at *31-32 (distinguishing Perfect 10 Inc. because

“[g]oogle did not actually display infringing images but instead provided links for users to access

sites that displayed infringing images… Although the infringing content appeared under a Google

banner, the user was essentially navigating to an infringing website to view Perfect 10's photos.”);

Synopsys, Inc. v. Ubiquiti Networks, Inc., No. 17-cv-00561-WHO (LB), 2018 U.S. Dist. LEXIS

14147, at *15-16 (N.D. Cal. Jan. 29, 2018) (“the situation in Perfect 10 involved connections

between three parties — end users, third-party servers hosting copyrighted material, and search

engines that did not themselves host copyrighted material but that linked end users to the third-

party servers that did host copyrighted material — and the ‘server test’ was a test to distinguish

between the hosting third-party servers and the non-hosting search engines. The test did not

address activities by end users and therefore is inapposite here.”).

       Moreover, Perfect 10’s server test has not been widely adopted and has been rejected by

several courts. See, Goldman, 302 F. Supp. 3d at 593 (rejecting the Perfect 10 server test because

“the plain language of the Copyright Act, the legislative history undergirding its enactment, and

subsequent Supreme Court jurisprudence provide no basis for a rule that allows the physical

location or possession of an image to determine who may or may not have ‘displayed’ a work

within the meaning of the Copyright Act.”); Flava Works, 2011 U.S. Dist. LEXIS 98451, at *10-

11 (rejecting the analysis in Perfect 10 as “highly fact-specific and distinguishable,” and “[t]o the

extent that Perfect 10 can be read to stand for the proposition that inline linking can never cause a




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display of images or videos that would give rise to a claim of direct copyright infringement, we

respectfully disagree.”)

                                     V.      CONCLUSION
       As in the cases discussed above, and hereto, NASA violated APL’s display right by

displaying APL’s Work on its website. For the foregoing reasons, the court should find that the

Complaint has sufficiently alleged a violation of APL’s display right, by NASA, under § 106(5).

DATED: June 24, 2019                          Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        The undersigned does hereby certify that on June 24, 2019, a true and correct copy of the
foregoing document was served by electronic mail by the Court’s CM/ECF System to all parties
listed below on the Service List.


                                              /s/ Joel B. Rothman

                                              JOEL B. ROTHMAN




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